Case 1:21-cv-11205-FDS   Document 182-44   Filed 01/06/25   Page 1 of 8




                          Exhibit 44

           June 23, 2021 Notice (1 of 4)
              (Attachments Omitted)
Case 1:21-cv-11205-FDS   Document 182-44   Filed 01/06/25   Page 2 of 8
Case 1:21-cv-11205-FDS   Document 182-44   Filed 01/06/25   Page 3 of 8
Case 1:21-cv-11205-FDS   Document 182-44   Filed 01/06/25   Page 4 of 8
Case 1:21-cv-11205-FDS   Document 182-44   Filed 01/06/25   Page 5 of 8
Case 1:21-cv-11205-FDS   Document 182-44   Filed 01/06/25   Page 6 of 8
Case 1:21-cv-11205-FDS   Document 182-44   Filed 01/06/25   Page 7 of 8
Case 1:21-cv-11205-FDS   Document 182-44   Filed 01/06/25   Page 8 of 8




               Attachments Omitted
